Case 17-16397-elf   Doc 82-4     Filed 04/06/22 Entered 04/06/22 16:46:52   Desc
                               Exhibit D Page 1 of 6




                    Exhibit D
                  Case
                   Case17-16397-elf
                        17-16397-elf Doc
                                      Doc682-4
                                            FiledFiled
                                                  09/19/17
                                                       04/06/22
                                                             Entered
                                                                  Entered
                                                                       09/19/17
                                                                           04/06/22
                                                                                10:07:38
                                                                                    16:46:52
                                                                                          DescDesc
                                                                                               Main
                                            Document
                                               Exhibit D Page 2 27ofof632
Fill in this information to identify your case:


 Debtor 1              Donald                 William               Thornton
                       First Name             Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: Eastern                   District of Pennsylvania


 Case number
     (If known)                                                                                              Check if this is:
                                                                                                                    An amended filing

                                                                                                                    A supplement showing post-petition chapter 13
                                                                                                                     income as of the following date:

Official Form 106I                                                                                                   MM / DD / YYYY


Schedule I: Your Income                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:
                   Describe Employment

                                                                      Debtor 1                                              Debtor 2 or non-filing spouse
     If you have more than one
     job, attach a separate page
                                     Employment status
                                                                          Employed                                           Employed
     with information about
     additional employers.                                                Not employed                                       Not employed

     Include part-time, seasonal,
     or self-employed work.
                                     Occupation                     Truck Driver                                        Caregiver
     Occupation may Include
     student or homemaker, if it
     applies                         Employer’s name                Central Transport                                   Development Enterprises Corp.
                                     Employer’s address             1200 Wrights Lane                                   333 E. Airy St.
                                                                    Number Street                                       Number Street




                                                                    West Chester PA 19380                               Norristown PA 19401
                                                                    City              State   ZIP Code                  City              State    ZIP Code

                                     How long employed there?       31 years



Part 2:            Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you
     need more space, attach a separate sheet to this form.
                                                                                                                            For Debtor 2 or
                                                                                                  For Debtor 1
                                                                                                                            non-filing spouse
2.      List monthly gross wages, salary, and commissions (before all
        payroll deductions). If not paid monthly, calculate what the monthly wage
        would be.                                                                       2.    $          2,968.43       $            1,760.00

3.      Estimate and list monthly overtime pay.                                         3. + $               0.00   + $                     0.00


4.      Calculate gross income. Add line 2 + line 3.                                    4.    $          2,968.43       $            1,760.00




Official Form 106I                                                Schedule I: Your Income                                                                     page 1
                 Case
                  Case17-16397-elf
                         17-16397-elf Doc
                                       Doc682-4
                                             FiledFiled
                                                   09/19/17
                                                        04/06/22
                                                              Entered
                                                                   Entered
                                                                        09/19/17
                                                                            04/06/22
                                                                                   10:07:3816:46:52
                                                                                                  DescDesc
                                                                                                       Main
Debtor 1          Donald       William       Document
                                                Exhibit D Page 3
                                              Thornton           28ofof632 Case number (if known)
                  First Name       Middle Name              Last Name



                                                                                                                   For Debtor 2 or
                                                                                            For Debtor 1
                                                                                                                   non-filing spouse

     Copy line 4 here                                                                 4.    $       2,968.43        $        1,760.00

5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                5a.    $          472.60       $          203.36
     5b. Mandatory contributions for retirement plans                                 5b.    $             0.00      $               0.00
     5c. Voluntary contributions for retirement plans                                 5c.    $             0.00      $               0.00
     5d. Required repayments of retirement fund loans                                 5d.    $             0.00      $               0.00
     5e. Insurance                                                                    5e.    $          488.00       $               0.00
     5f.     Domestic support obligations                                             5f.    $             0.00      $               0.00
     5g. Union dues                                                                   5g.    $             0.00      $               0.00
     5h. Other deductions. Specify: ..                                                5h. +$               0.00    +$                0.00
6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h         6.    $          960.60       $          203.36

7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.    $       2,007.83        $        1,556.64

8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                      8a.    $             0.00      $               0.00
     8b. Interest and dividends                                                       8b.    $             0.00      $               0.00
     8c. Family support payments that you, a non-filing spouse, or a
         dependent regularly receive
             Include alimony, spousal support, child support, maintenance,
             divorce settlement, and property settlement.                             8c.    $             0.00      $               0.00
     8d. Unemployment compensation                                                    8d.    $             0.00      $               0.00
     8e. Social Security                                                              8e.    $       1,683.30        $               0.00
     8f.     Other government assistance that you regularly receive
             Include cash assistance and the value (if know) of any non-cash
             assistance that you receive, such as food stamps (benefits under the
             Supplemental Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                 8f.    $             0.00      $               0.00
     8g. Pension or retirement income                                                 8g.    $             0.00      $               0.00
     8h. Other monthly income. Specify: ..                                            8h. +$               0.00    +$                0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e +8f +8g +8h                9.    $       1,683.30        $               0.00

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.    $       3,691.13        $        1,556.64 = $          5,247.77

11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                         11. + $           0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data. If it applies.    12.   $       5,247.77
                                                                                                                                            Combined
                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


Official Form 106I                                                Schedule I: Your Income                                                             page 2
               Case
                 Case17-16397-elf
                          17-16397-elf Doc      Doc682-4
                                                      FiledFiled
                                                            09/19/17
                                                                 04/06/22
                                                                       Entered
                                                                            Entered
                                                                                 09/19/17
                                                                                     04/06/22
                                                                                          10:07:38
                                                                                              16:46:52
                                                                                                    DescDesc
                                                                                                         Main
Fill in this information to identify your case:
                                                      Document
                                                         Exhibit D  Page  4
                                                                          29of
                                                                             of6 32

 Debtor 1              Donald                William                    Thornton
                       First Name             Middle Name               Last Name
                                                                                                              Check if this is:
 Debtor 2
 (Spouse, if filing)   First Name             Middle Name               Last Name                                    An amended filing

 United States Bankruptcy Court for the: Eastern                       District of Pennsylvania
                                                                                                                     A supplement showing post-petition chapter 13
                                                                                                                      income as of the following date:
 Case number
     (If known)                                                                                                         MM / DD / YYYY
                                                                                                                     A separate filing for Debtor 2 because
                                                                                                                      Debtor 2 maintains a separate household


Official Form 106J
Schedule J: Your Expenses                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
Part 1:            Describe Your Household

1. Is this a joint case?
      No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?
             No.
             Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents                   No
       Do not list Debtor 1 and             Yes. Fill out this information for
                                                                                      Dependent’s relationship to
                                                                                      Debtor 1 or Debtor 2
                                                                                                                                  Dependent’s
                                                                                                                                  age
                                                                                                                                                Does dependent live
                                                                                                                                                with you?
       Debtor 2.                              each dependent
                                                                                                                                                   No
       Do not state the dependent’s
       names.                                                                                                                                      Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                                                                                   No
                                                                                                                                                   Yes

3. Do your expenses include                 No
   expenses of people other
   than yourself and your
                                            Yes.
   dependents?

Part 2:            Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                                    Your Expenses

4.      The rental or home ownership expenses for your residence. Include first mortgage
        payments and any rent for the ground or lot.                                                                     4. $                       1,345.68
        If not included on line 4:
        4a. Real estate taxes                                                                                          4a. $                          550.00

        4b. Property, homeowner’s, or renter’s insurance                                                               4b. $                          163.22

        4c. Home maintenance, repair, and upkeep expenses                                                              4c. $                          120.00

        4d. Homeowner’s association or condominium dues                                                                4d. $                              0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                                    page 1
              Case
               Case17-16397-elf
                      17-16397-elf Doc
                                    Doc682-4
                                          FiledFiled
                                                09/19/17
                                                     04/06/22
                                                           Entered
                                                                Entered
                                                                     09/19/17
                                                                         04/06/22
                                                                                10:07:3816:46:52
                                                                                               DescDesc
                                                                                                    Main
Debtor 1       Donald       William       Document
                                             Exhibit D Page 5
                                           Thornton           30ofof632 Case number (if known)
                First Name          Middle Name             Last Name


                                                                                                             Your Expenses

5.     Additional mortgage payments for your residence, such as home equity loans.                    5. $                    0.00
6.     Utilities:

     6a. Electricity, heat, natural gas                                                              6a. $               300.00

     6b. Water, sewer, garbage collection                                                            6b. $               127.00

     6c. Telephone, cell phone, Internet, satellite, and cable services                              6c. $               200.00

     6d. Other. Specify:                                                                             6d. $                    0.00

7.     Food and housekeeping supplies                                                                 7. $               700.00

8.     Childcare and children’s educational costs                                                     8. $                    0.00

9.     Clothing, laundry, and dry cleaning                                                            9. $                   40.00

10. Personal care products and services                                                              10. $                   80.00

11. Medical and dental expenses                                                                      11. $               110.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                     12. $               300.00

13. Entertainment, clubs recreation, newspapers, magazines, and books                                13. $               100.00

14. Charitable contributions and religious donations                                                 14. $                    0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                         15a. $                     0.00

       15b. Health insurance                                                                       15b. $                     0.00

       15c. Vehicle insurance                                                                       15c. $               127.00

       15d. Other insurance. Specify:                                                              15d. $                     0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16. $                    0.00
17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                             17a. $                     0.00
       17b. Car payments for Vehicle 2                                                             17b. $                     0.00

       17c. Other. Specify: Heater                                                                  17c. $               137.44

       17d. Other. Specify:                                                                        17d. $                     0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from you pay on line 5, Schedule I, Your Income (Official Form B 6I).                            18. $                    0.00
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19. $                    0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income:

       20a. Mortgages on other property                                                            20a. $                     0.00

       20b. Real estate taxes                                                                      20b. $                     0.00
       20c. Property, homeowner’s, or renter’s insurance                                            20c. $                    0.00

       20d. Maintenance, repair, and upkeep expenses                                               20d. $                     0.00

       20e. Homeowner’s association or condominium dues                                            20e. $                     0.00




Official Form 106J                                              Schedule J: Your Expenses                                            page 2
             Case
              Case17-16397-elf
                     17-16397-elf Doc
                                   Doc682-4
                                         FiledFiled
                                               09/19/17
                                                    04/06/22
                                                          Entered
                                                               Entered
                                                                    09/19/17
                                                                        04/06/22
                                                                               10:07:3816:46:52
                                                                                              DescDesc
                                                                                                   Main
Debtor 1      Donald       William       Document
                                            Exhibit D Page 6
                                          Thornton           31ofof632 Case number (if known)
              First Name             Middle Name        Last Name



21. Other. Specify:                                                                                         21. $        0.00

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                $    4,400.34
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                       $        0.00
    22c. Add lines 22a and 22b. The result is your monthly expenses.                                        22. $    4,400.34

23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                    23a. $    5,247.77
      23b. Copy your monthly expenses from line 22 above.                                                  23b. -$   4,400.34
      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $     847.43


24. Do you expect an increase or decrease in your expenses within the year after you file this form?:

     For example, do you expect to finish paying for your car loan within the year or do you expect your
     mortgage payment to increase or decrease because of a modification in the terms of your mortgage?

          No.
          Yes.      Explain here:




Official Form 106J                                           Schedule J: Your Expenses                                          page 3
